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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                Case No.: 12-24239-CIV-O’SULLIVAN

  DENARII SYSTEMS, LLC,
  a Florida Limited Liability Company,

                  Plaintiff,

  v.

  OMAR ARAB,
  GREYNIER FUENTES, and
  FRANK ALVAREZ, individuals, and
  BLIT TECHNOLOGIES CORP., a Florida corporation.

              Defendants.
  ____________________________________/

                                    SECOND AMENDED COMPLAINT

          Plaintiff Denarii Systems, LLC (“Denarii”), by and through its undersigned counsel, sues

  Defendants Frank Alvarez, Omar Arab, Greynier Fuentes, and Blit Technologies Corp., and for

  its Second Amended Complaint alleges:

                               PARTIES, JURISDICTION AND VENUE

          1.      Plaintiff Denarii is a limited liability company organized and existing under the

  laws of the State of Florida, with its principal place of business in Miami-Dade County, Florida.

          2.      Defendant Omar Arab resides in Miami-Dade County, Florida, is over 18 years of

  age, and is sui juris.

          3.      Defendant Greynier Fuentes resides in Miami-Dade County, Florida, is over 18

  years of age, and is sui juris.

          4.      Defendant Frank Alvarez resides in Miami-Dade County, Florida, is over 18 years

  of age, and is sui juris.



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         5.      Defendant Blit Technologies Corp. is a Florida for-profit corporation with its

  principal place of business in Miami-Dade County, Florida.

         6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as

  multiple claims in the case arise under federal law. In addition, pursuant to 28 U.S.C. § 1367(a),

  this Court has supplemental jurisdiction over the remaining state law claims which derive from a

  common nucleus of operative facts.

         7.      This Court has personal jurisdiction over the Defendants because they reside in

  Florida, and because they operate, conduct, engage in, or carry on a business or business venture

  in this State, have an office or agency in this State, and/or are engaged in substantial and not

  isolated activity within this State. Additionally, this Court has jurisdiction over the Defendants

  because they have committed tortious acts in this State.

         8.      Venue is proper in the Southern District of Florida because the Defendants reside

  in the Southern District of Florida and because the causes of action accrued here.

                                   GENERAL ALLEGATIONS

                                         Denarii’s “Team”

         9.      Denarii is a processor of prepaid financial products and services.       Denarii’s

  business is primarily focused on the processing of transactions associated with prepaid cards,

  which function much like debit cards or electronic gift cards. These prepaid cards are accepted

  by vendors on the MasterCard networks.

         10.     Denarii handles the real-time electronic processing of transactions made with

  these cards, which requires a secure platform to protect the financial data of card users and

  vendors.




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          11.    In order to develop and maintain its card-processing platform, Denarii employs a

  team of software engineers and developers responsible for writing Denarii’s proprietary source

  code and ensuring that Denarii’s platform is both functional and secure.

          12.    Denarii’s team of software specialists previously included Defendant Omar Arab,

  who was hired as an employee of Denarii on August 15, 2011, as Denarii’s Chief Technology

  Officer. Arab was responsible for overseeing both Denarii’s production side – which included

  the development of new source code necessary for the writing of software – as well as its

  services side, responsible for the processing of card transactions.

          13.    Denarii’s team also included Defendant Greynier Fuentes, who was hired as an

  employee of Denarii on June 28, 2010, and served as Denarii’s Director of Software

  Development. Within this role, Fuentes reported directly to Defendant Omar Arab.

          14.    Defendant Frank Alvarez was also an employee of Denarii, and was hired by

  Denarii on August 2, 2010. From August 2, 2010, until his termination on October 22, 2012,

  Alvarez served as a Software Engineer whose primary responsibility was Quality Assurance.

  Due to his role in supervising the work product of other software engineers and developers,

  Alvarez was assigned top-level permissions granting him access to Denarii’s existing proprietary

  source code and software, as well as the source code and software being produced by Denarii

  that was still in the development stage. Within this role, Alvarez reported to Defendant Omar

  Arab.

          15.    Given their positions within the company, Defendants Arab and Fuentes were

  given the highest level of administrative access to Denarii’s internal computer network, as well

  as Denarii’s servers. These servers stored data that was critical to Denarii’s operations, allowed




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  for testing of source code and software that was still in the development stage, and supported the

  card-processing platform underlying Denarii’s very existence and functionality.

                                           Abuse of Power

         16.     In addition to this high level of access to Denarii’s technology systems, Defendant

  Arab also had the authority and position to oversee the awarding of contracts to independent

  software engineers and developers.      Early on, Arab began abusing this authority to hire

  independent contractors for Denarii in exchange for kickbacks. In one such instance, Arab

  awarded software engineer Franco Ceruti and his company XTrend inflated contracts for work

  premised upon an agreement that Ceruti would pay Arab thousands of dollars each month from

  these Denarii contracts—payments which were kept hidden from Denarii.

         17.     Defendant Arab also began invoicing Denarii each month for services allegedly

  provided by his friend and former business partner, Alberto Padin, through an entity called

  Optimus Consulting Services. Arab personally approved these payments, all the while aware of

  the fact that no work was being provided by Alberto Padin or Optimus Consulting Services for

  Denarii. These invoices, submitted monthly from February 27, 2012 until September 28, 2012,

  alone total $84,000.

         18.     Beyond these abuses, Defendants Arab and Fuentes concocted another scheme

  through which they could steal Denarii’s assets by abusing their insider roles. This plan included

  establishing a fraudulent corporation which would serve as a provider of services and hardware

  to Denarii, while in reality functioning as an alter ego of Defendants Arab and Fuentes.

         19.     The company, formed as Blit Technologies Corp. (“Blit”), was incorporated on

  March 12, 2012, with Manuel Munoz serving as Blit’s incorporator, President, Vice President,

  Secretary, Treasurer, and Director. Defendants Arab and Fuentes selected Manuel Munoz for




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  this role given that Munoz is believed to be the father of Fuentes’ long-time girlfriend, Claudia

  Munoz, with whom Fuentes has an infant son.

         20.     Utilizing their positions of authority within the company, Defendants Arab and

  Fuentes began submitting bids from Blit to Denarii for services, software, and hardware that

  Arab and Fuentes claimed Denarii needed.         Frequently, the Blit bids would be presented

  alongside a competing bid for the same products and services.         These “competitor” bids,

  unbeknownst to Denarii management, were also created by Arab and Fuentes, despite featuring

  company logos that appeared to be from legitimate providers (such as Dell Inc.). Unsurprisingly,

  the Blit bids came out as the lowest bid in each and every case.

         21.     After presenting the falsified bids to Denarii management – and after Blit had

  received the bid awards – Defendants Arab and Fuentes then began submitting invoices from Blit

  to Denarii for work allegedly performed, services purported to be rendered, and hardware that

  was represented as necessary for operations by Arab and Fuentes. Subsequent investigation has

  shown that the work, services, hardware and/or software billed for by Blit was not provided to

  Denarii, despite Denarii’s payment of over $95,000 in fraudulent invoices submitted by Arab and

  Fuentes through their alter ego, Blit. Nor was Blit able to lawfully provide various items they

  purported to “sell” to Denarii – such as Microsoft licensing – due to the fact that Blit is not a

  licensed Microsoft reseller.

                                     The Plot to “End” Denarii

         22.     In a still more egregious attempt to misappropriate Denarii’s proprietary and

  monetary assets, Defendants Arab and Fuentes began approaching their colleagues at Denarii

  with the idea of beginning their own company that would compete with Denarii, using Denarii’s

  own proprietary software and source code.        Though Defendants Arab and Fuentes began




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  discussing this plan with other Denarii employees as early as January 2012, it was not until June

  2012 that Defendants had solidified their plan, which they proceeded to lay out in detail at a

  breakfast meeting they held without notifying Denarii management.

         23.    In June 2012 at the Marriott Hotel in South Beach, Defendants Arab and Fuentes

  told at least six other Denarii employees (including Defendant Alvarez) – whom Defendants had

  invited to the breakfast – of their plan to secretly develop a new card-processing platform while

  working for Denarii, before leaving to begin a competitor company. As Defendants Arab and

  Fuentes explained, Denarii would pay these employees for their normal software engineering

  services, and the employees would use their time at Denarii and their expertise to develop a new,

  more efficient card-processing platform. When the platform was fully developed and could

  support Visa and/or MasterCard transactions, the employees would take the platform’s source

  code and begin their own company. By taking both Denarii’s employees and proprietary source

  code, the participants in the plan would be able to “end” Denarii and then take whatever clients

  Denarii had left.    Defendants Arab and Fuentes explained at the meeting that this new,

  competitor entity would be supported with funds from the minority shareholders of Denarii,

  including Jaime (“Jaimito”) Costa and Edward (“Ted”) Moffly, among others. While Defendant

  Alvarez agreed to participate in the plan to misappropriate Denarii’s proprietary source code

  with Defendants Arab and Fuentes, the remaining employees (including Carlos Alonso, Franco

  Ceruti, Javier Machin, Maybel Martin, and Humberto Moreno) were not successfully recruited to

  carry out the scheme.

         24.    Despite the fact that other employees were unwilling to leave Denarii with

  Defendants Alvarez, Arab and Fuentes, Arab continued to reference his plan to leave Denarii and

  misappropriate Denarii’s proprietary source code and corresponding software. In one such




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  instance occurring in July 2012, Arab told Denarii employee Marcela Lazarte that the Denarii

  executives had “better stop messing” with him because he had Denarii’s proprietary source code

  on a CD and was prepared to take it with him to Argentina should he decide to leave Denarii.

         25.    Similar comments were echoed by Arab to Denarii executives when they began

  investigating the vendors and providers that had been paid by Denarii upon Arab’s instruction

  and approval. At a meeting between Arab and Denarii executives on October 17, 2012, Arab

  warned Denarii executives that they “had better not mess with the backbone of the company”

  [referring to himself], threatening that negative consequences would result from any action taken

  to investigate and/or terminate Arab and Fuentes.

                                      Defendants’ Departures

         26.    On October 19, 2012, after word of his misconduct reached management,

  Defendant Fuentes resigned from his position as Director of Software Development at Denarii.

  Prior to his resignation, Fuentes deleted his “gfuentes” user profile and overwrote the Windows

  registry file from the Denarii computer assigned to him, effectively erasing evidence of his

  activity on the company computer, as well as the documents saved on the computer.

         27.    Despite his resignation, Fuentes was once more present in the office on October

  22, 2012, and stated that he was considering the withdrawal of his resignation. Denarii did not

  allow Fuentes to rejoin the Company’s employ.

         28.    On October 22, 2012, Defendant Arab was terminated by Denarii. On the same

  day, Arab and/or Fuentes deleted Arab’s “oarab” user profile from the Denarii computer

  assigned to him, creating in its place a profile entitled “omar” which contains no user documents

  or Internet history. In addition, Arab and/or Fuentes also deleted all information and files from

  the iPhone assigned to Arab and owned by Denarii.




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         29.     On October 22, 2012, Defendant Alvarez was also terminated by Denarii. Prior to

  this termination, on October 15, 2012, Alvarez copied and exported approximately 8,500 files

  (consisting of a significant portion of Denarii’s proprietary source code, along with other

  intellectual property belonging to Denarii) and folders from his computer on a USB device.

  These files were specifically targeted because they contain the proprietary source code1 and

  software for Denarii’s platform.2

         30.     Following Fuentes’ resignation, Denarii management demanded that Defendant

  Fuentes turn over a list of administrative passwords to the Denarii network and servers. This list

  was critical to Denarii management, as no one else at the company was in possession of a full list

  of this information.

         31.     While Defendant Fuentes supplied a list of passwords to Denarii management, the

  company soon learned that several of the most important passwords supplied by Fuentes were

  inaccurate. As further investigation revealed, the password list was also incomplete.

         32.     On October 19, 2012, following Defendant Fuentes’ resignation, Denarii changed

  the administrative passwords to its production, development and office networks. As a result,

  Defendants Alvarez, Arab and Fuentes no longer had authorized access to these networks and

  their individual servers.


  1
    Source code is a collection of computer instructions and notations, most commonly consisting
  of a human-readable computer language (such as text), which specifies the actions to be
  performed by a computer running a corresponding piece of software. The Institute of Electrical
  and Electronics Engineers defines source code as “any fully executable description of a software
  system,” and states that source code includes “machine code, very high level languages and
  executable graphical representations of systems.” In essence, strings of source code function as
  the building blocks of individual pieces of software.
  2
     A platform or “computing platform” includes a hardware architecture and a software
  framework (including application frameworks), where the combination allows the software to
  run. In simple terms, a platform is a computing system that serves as a place to launch software.



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         33.      On Sunday, October 21, 2012, Denarii discovered that its secure network had

  been breached. During the breach, the intruder(s) accessed the Denarii servers, misconfigured

  the card-processing platform by altering settings and/or source code, and caused Denarii’s

  system to lose contact with MasterCard. As a result, no MasterCard transactions could be

  processed by Denarii from Sunday afternoon through mid-day Monday, October 22, 2012.

         34.      Upon information and belief, this breach was caused by Defendants Arab and/or

  Fuentes.     To disguise their access to Denarii’s production-side SQL Server (which hosts

  Denarii’s production operations), it is believed that Arab and/or Fuentes created a false user

  profile entitled “ecadena”—referencing the owner of Denarii, Enrique Cadena.          Under the

  ecadena user profile, critical portions of the server log(s) were erased, despite the fact that

  Enrique Cadena had never previously been given access to the highly protected SQL Server.

         35.      Subsequent investigation into the remaining server logs has revealed that the

  source of the access was through the system’s main administrative account – to which only

  Defendants Arab and Fuentes had access until October 19, 2012, when Denarii changed the

  account’s password. Log data has also indicated that the infiltrator(s) accessed the Denarii

  network on Sunday, October 21, 2012, and was able to remove monitoring software that was put

  in place by Denarii to track any activity on the network.

         36.      On October 21, 2012, Denarii came to realize that it had lost access to Denarii’s

  main systems administrator account due to the critical password being changed by an outside

  source. On information and belief, the only person previously able to modify this password

  (prior to his resignation on October 19, 2012) was Fuentes. However, because the critical

  administrative passwords had been changed by Denarii on Friday, October 19, 2012,

  (immediately following Defendant Fuentes’ resignation) any access by Alvarez, Arab and/or




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   Fuentes would not have been possible through the normal channels—as Alvarez, Arab and

   Fuentes were not privy to the new administrative passwords after they were changed on October

   19, 2012. Instead, it would have been necessary for these individuals to “hack” into the network

   on October 21, 2012, exceeding any authorization from Denarii (which did not exist) to engage

   in this conduct.

          37.      As a result, Denarii employees and specialized contractors – including network

   administrative expert, Kesrick Grey – worked around the clock on Sunday, October 21 and

   Monday, October 22 to return ownership of the main administrative (Global Domain) password

   to Denarii and to ensure that Denarii’s network was once more secure and able to process card

   transactions.

          38.      On Monday, October 22, 2012 – as soon as Denarii had once more gained control

   of its network – Denarii lost control of its email server, hosted by the cloud-based Microsoft

   Office 365 service.

          39.      While Denarii still does not have access to its company email database, the

   company has been working with Microsoft to establish its identity as the true owner of this

   account, and to stop the deletion of any further data and email communications from Denarii’s

   email server.

          40.      As Microsoft has verified, control of Denarii email accounts was changed by a

   “system administrator” on Monday, October 22, 2012.

          41.      The registered “system administrator” for the Denarii Microsoft accounts was

   Fuentes.     Upon information and belief, Fuentes was responsible for taking over account

   ownership and blocking Denarii’s access to its email accounts.




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          42.     The contents of the Denarii email accounts assigned to Arab and Fuentes were

   also erased during the intrusion, thus deleting data, communications, and other corporate

   information that is owned by Denarii and is potentially incriminating to Defendants.

          43.     Through the Office 365 service, Defendants were also able to delete data from the

   cellular telephones of company employees, which were linked to the Microsoft Office 365

   service. As a result, Defendants deleted all data from the phones of Denarii employees Sebastian

   Cordovez and Ketty Rodriguez on Monday, October 22, 2012.

          44.     Denarii is still without access to the email accounts hosted by Microsoft Office

   365, which remain within Defendants’ control.

          45.     Despite the State Court’s issuance of injunctive relief requiring turnover of the

   passwords, Defendants continue to withhold critical passwords for Denarii’s network. These

   passwords include the correct usernames and passwords for the network switches, the SQL

   server, and the Global Domain (main administrative) password.             Without this information,

   Denarii cannot access or configure significant portions of its network.

          46.     Defendants also remain in possession of Denarii’s critical documentation and

   manuals which serve to map and explain the various components of the sophisticated Denarii

   network, as well as each server’s role within the network. This documentation, belonging to

   Denarii and developed at Denarii’s cost, was previously maintained in a DropBox folder

   controlled by Defendants, which has since been erased from Denarii’s network. Such

   information is critical to any efforts to maintain or troubleshoot the existing network.

          47.     All conditions precedent to the institution, maintenance and prosecution of this

   action have been satisfied, waived, or are excused as futile.




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                             COUNT I –VIOLATION OF FLORIDA’S
                        UNIFORM TRADE SECRETS ACT, FLA. STAT. §688
                            against Defendants Alvarez, Arab and Fuentes

          48.     Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

          49.     Denarii is the developer and owner of proprietary source code utilized in running

   its card-processing platform.

          50.     Denarii’s source code constitutes a trade secret, as protected under Fla. Stat. §688.

          51.     Denarii derives economic value from the source code based on the fact that this

   source code is not readily ascertainable by other parties and other card-processing enterprises.

          52.     Denarii has taken reasonable steps to ensure that its source code remains secret,

   including limiting the number of individuals who have access to Denarii’s source code and the

   servers which house this information.

          53.     Defendants Alvarez, Arab and Fuentes had access to Denarii’s proprietary source

   code as a result of their employment with Denarii and their high-level positions in overseeing

   Denarii’s software development.

          54.     Denarii’s proprietary source code was maliciously misappropriated by Defendants

   Alvarez, Arab and Fuentes, who used improper means to obtain the source code for their own

   use and profit, including the exporting of over 8,500 files containing Denarii’s source code onto

   a removable storage device on or about October 15, 2012.

          55.     As a direct and proximate result of these Defendants’ misappropriation of

   Denarii’s trade secrets, Denarii has suffered actual damages in the form of those costs required to

   respond to Defendants’ breach of the Denarii network and source code housed therein.




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            56.   Denarii faces further damage should these misappropriated trade secrets be used

   by, sold or distributed to another business enterprise.

            57.   Denarii is entitled to both monetary damages and injunctive relief under Florida’s

   Uniform Trade Secrets Act §§688.003-004.

            58.   Denarii is entitled to an award of reasonable attorney’s fees pursuant to §688.005.

            59.   Denarii is entitled to exemplary damages pursuant to §688.004

            WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendants Frank Alvarez, Omar Arab and Greynier Fuentes for compensatory

   damages, exemplary damages, attorney’s fees, prejudgment interest, injunctive relief enjoining

   the use, sale, and/or distribution of Plaintiff’s proprietary trade secrets, costs, and all such other

   relief as this Court may deem appropriate.

                        COUNT II – VIOLATION OF COMPUTER FRAUD
                              AND ABUSE ACT, 18 U.S.C. §1030
                          against Defendants Alvarez, Arab and Fuentes
            60.   Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

            61.   Denarii asserts this Count against Defendants Alvarez, Arab and Fuentes, jointly

   and severally, pursuant to §1030 of the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C.

   §1030.

            62.   Defendants Alvarez, Arab and Fuentes intentionally accessed the computers of

   Denarii without authorization and/or exceeded authorized access to the computers of Denarii,

   and thereby obtained information from the computers of Denarii in violation of 18 U.S.C.

   §1030(a)(2)(C). These Denarii computers constitute “protected computers” under the Computer

   Fraud and Abuse Act, pursuant to §1030(e)(2)(B).




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          63.     During these Defendants’ intentional and unauthorized access to the protected

   computers of Denarii, Defendants Alvarez, Arab and Fuentes obtained and exported over 8,500

   files containing Denarii’s intellectual property and proprietary source code onto a removable

   storage device, as well as deleted user profiles, documents, histories, and other files in violation

   of 18 U.S.C. §1030(a)(2)(C).

          64.     Defendants Alvarez, Arab and Fuentes intentionally accessed the protected

   computers of Denarii without authorization, and by means of such conduct knowingly caused the

   transmission of a code or command designed to misconfigure Denarii’s servers and disable

   Plaintiff’s ability to process transactions within the MasterCard network in violation of 18 U.S.C.

   §1030(a)(5)(A).

          65.     These Defendants did in fact disable the MasterCard network after taking

   administrative control of the Denarii network on Sunday, October 21, 2012.

          66.     As a result of this misconfiguration, Defendants Alvarez, Arab and Fuentes

   intentionally caused damage without authorization to the protected computers of Denarii in

   violation of 18 U.S.C. §1030(a)(5)(A).

          67.     In the alternative to the allegations set forth in Paragraphs 64 and 66, Defendants

   Alvarez, Arab and Fuentes intentionally accessed the protected computers of Denarii without

   authorization, and as a result thereof, recklessly caused damage to the protected computers of

   Denarii in violation of 18 U.S.C. §1030(a)(5)(B) by misconfiguring Denarii’s servers and

   disabling Plaintiff’s ability to process transactions within the MasterCard network in violation.

          68.     In addition, Defendants Alvarez, Arab and Fuentes intentionally accessed the

   computers of Microsoft without authorization for the purpose of accessing and/or deleting

   Denarii email accounts and files, and thereby obtained information from the computers of




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   Microsoft in violation of 18 U.S.C. § 1030(a)(2)(C). These Microsoft computers constitute

   “protected computers” under the Computer Fraud and Abuse Act, pursuant to §1030(e)(2)(B).

          69.    Defendants Alvarez, Arab and Fuentes intentionally accessed the protected

   computers of Microsoft without authorization, and by means of such conduct knowingly caused

   the transmission of a code or command designed to delete data from Denarii email accounts and

   Denarii telephones issued to Denarii employees in violation of 18 U.S.C. § 1030(a)(5)(A).

          70.    These Defendants did in fact delete Denarii files and individual email accounts

   after accessing Microsoft’s protected computers.

          71.    As a result of these deletions, Defendants Alvarez, Arab and Fuentes intentionally

   caused damage to the protected computers of Microsoft in violation of 18 U.S.C.

   §1030(a)(5)(A).

          72.    In the alternative to the allegations set forth in Paragraphs 69 and 71, Defendants

   Alvarez, Arab and Fuentes intentionally accessed the protected computers of Microsoft without

   authorization, and as a result thereof, recklessly caused damage to the protected computers of

   Microsoft in violation of 18 U.S.C. §1030(a)(5)(B) by deleting data from Denarii email accounts

   and Denarii telephones issued to Denarii employees.

          73.    Denarii has incurred substantial costs greatly exceeding five thousand ($5,000) in

   value in responding to the offenses committed by these Defendants, including investigating the

   facts and circumstances surrounding the offenses, conducting a damage assessment, attempting

   to restore data to the condition immediately prior to the commission of the offenses, attempting

   to restore the Denarii computer network to the condition immediately prior to the commission of

   the offenses, reconfiguring settings necessary to process MasterCard transactions and resume




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   normal business, and investing in additional security measures to protect the Denarii network

   from further intrusions.

           74.     Plaintiff has been damaged as a direct and proximate result of these Defendants’

   acts.

           WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendants Frank Alvarez, Omar Arab and Greynier Fuentes for compensatory

   damages, prejudgment interest, costs and all such other relief as this Court may deem

   appropriate.

                  COUNT III – VIOLATION OF STORED COMMUNICATIONS ACT,
                                      18 U.S.C. §§2701 & 2707
                                against Defendants Arab and Fuentes

           75.     Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

           76.     Microsoft’s computer servers are facilities through which an electronic

   communication service is provided, including Microsoft’s Office 365 electronic communication

   service.

           77.     Denarii’s computer servers are facilities through which an electronic

   communication service is provided, including Denarii’s local corporate email services and

   electronic storage.

           78.     Defendants Arab and Fuentes intentionally accessed without authorization

   Microsoft’s and Denarii’s computer servers, or Defendants intentionally exceeded an

   authorization to access Microsoft and Denarii’s computer servers, and thereby, obtained access

   to electronic communications while such was in electronic storage, specifically the electronic

   mail communications of Denarii employees.




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          79.     These Defendants’ conduct in accessing, obtaining, stealing, and deleting

   Denarii’s stored electronic communications without authorization, or in excess of an

   authorization, was with a knowing and/or intentional state of mind.

          80.     Defendants Arab and Fuentes’ unlawful access to each of Denarii’s stored

   electronic communications represents a violation of the Stored Communications Act, 18 U.S.C.

   §§2701 (“SCA”).

          81.     Denarii has suffered actual damages in relation to these Defendants’ violations of

   the SCA, including the costs associated with investigating the facts and circumstances

   surrounding the offenses, conducting a damage assessment, attempting to restore data to the

   condition immediately prior to the commission of the offenses, and investing in additional

   security measures to protect the Denarii email accounts from further intrusions.

          82.     Denarii has had its corporate communication, intellectual property, proprietary

   source code, trade secrets, and corporate information unlawfully accessed, trespassed upon, and

   stolen by Defendants.

          83.     Denarii is entitled to monetary damages for each violation of the SCA, of no less

   than $1,000 per violation, as provided by 18 U.S.C. § 2707(c).

          84.     Because the violations of the SCA were willful and intentional, Plaintiff

   additionally seeks punitive damages under 18 U.S.C. § 2707(c).

          85.     Denarii is also entitled to the reasonable attorney’s fees and costs that it has, and

   will incur, in order to prosecute this action and vindicate its rights, as provided by 18 U.S.C.

   §2707(b).

          WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendants Omar Arab and Greynier Fuentes for compensatory damages,




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   punitive damages, prejudgment interest, attorney’s fees, costs, and all such other relief as this

   Court may deem appropriate.

                                 COUNT IV – INJUNCTIVE RELIEF
                              against Defendants Alvarez, Arab and Fuentes

          86.     Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

          87.     As more fully described herein, Denarii is the developer and owner of source code

   utilized in running its card-processing platform. Denarii’s business relies upon this source code

   and its ability to support a functional and secure platform used to process millions of Visa and

   MasterCard transactions. Without a secure network and secure platform, Denarii’s business and

   reputation as a transaction processor would be severely jeopardized.

          88.     Defendants Alvarez, Arab and Fuentes, relying on their previous positions within

   Denarii and their intimate knowledge of Denarii’s network system, have accessed the Denarii

   network without authorization and without approval.         Through strategic interference with

   Denarii’s servers, platform, account settings and email communications, Defendants Arab and

   Fuentes have crippled Denarii’s day-to-day operations, and have refused to submit the

   information and passwords within their control which are required to ensure full functionality of

   the Denarii network. In addition, Defendants Alvarez, Arab and Fuentes have misappropriated

   portions of the proprietary source code developed and owned by Denarii.

          89.     In light of Defendants Alvarez, Arab and Fuentes’ improper conduct, Denarii is

   entitled to a temporary injunction without notice.

          90.     Denarii will suffer irreparable harm if its own account and systems information

   continues to be wrongfully withheld from the company, in turn threatening the market value and

   overall viability of the company.



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           91.      Denarii has no adequate remedy at law for Defendants Alvarez, Arab and

   Fuentes’ continued misconduct. The entry of an injunction is necessary to require Defendants

   Alvarez, Arab and Fuentes to turn over the requested information, prohibit their unauthorized

   access to the Denarii network, and ensure that Denarii’s proprietary source code is not used,

   distributed, or sold to other business entities.

           92.      Given Defendants Alvarez, Arab and Fuentes’ documented misconduct, there is a

   significant likelihood that Denarii will prevail on the merits of its claims regarding a violation of

   the Computer Fraud and Abuse Act, the Stored Communications Act, and Florida’s Uniform

   Trade Secrets Act. Denarii has a clear legal right to the relief requested.

           93.      The damage to Denarii in the form of lost market share and harm to reputation

   outweighs any potential harm to Defendants, who would only be obligated to forego their

   unlawful conduct under the proposed injunction.

           94.      Issuance of an injunction is consistent with public policy in protecting trade

   secrets and promoting legitimate business interests.

           95.      Denarii is also entitled to injunctive relief relating to the actual or threatened

   misappropriation of its proprietary source code under §688.003 of Florida’s Uniform Trade

   Secrets Act.

           WHEREFORE, Plaintiff Denarii respectfully requests that this Court enter a temporary

   injunction:

       (1) Enjoining Alvarez, Arab, Fuentes and all persons acting in concert, participation or

           combination with them:

                 a. from accessing Denarii’s internal systems network;




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             b. from accessing Denarii’s servers, responsible for running Denarii’s processing

                 platform;

             c. from obtaining, modifying, or deleting any portion of Denarii’s proprietary source

                 code;

             d. from obtaining, modifying, or deleting any stored electronic information and data

                 housed within the Denarii system, including but not limited to, company email

                 communications, documents, certifications for Denarii’s products and services,

                 documentation relating to the administrative functions of Denarii, and passwords;

                 and

             e. from obtaining, modifying, or deleting any of Denarii’s stored documents kept in

                 the DropBox folder removed by Arab and Fuentes.

      (2) Prohibiting the use, modification, distribution, or sale of any portion of Denarii’s

          proprietary source code.

      (3) Requiring Defendants to immediately supply all passwords used to access Denarii’s

          accounts and servers, including the main administrative passwords for Denarii’s

          information systems, as well as passwords for Denarii’s SQL servers, Denarii’s network

          switches, Denarii’s Microsoft Office 365 services, and all associated Denarii email

          accounts.

      (4) Requiring Defendants to immediately turn over access to the DropBox folder and all

          documents previously kept therein which are the property of Denarii.

      (5) Granting such other relief as this Court deems just and proper.




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                                COUNT V – CIVIL CONSPIRACY
                            against Defendants Alvarez, Arab and Fuentes

           96.    Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

           97.    Defendants    Alvarez,   Arab    and   Fuentes    cooperated   and   conspired   to

   misappropriate Denarii’s assets and proprietary source code and/or software in violation of

   Florida’s Uniform Trade Secrets Act, Fla. Stat. § 688, and the Computer Fraud and Abuse Act,

   18 U.S.C. § 1030.

           98.    In furtherance of this conspiracy, Defendants Alvarez, Arab and Fuentes

   undertook multiple overt acts in pursuance of the conspiracy, which included unlawfully

   accessing Denarii’s network and computer systems to misconfigure the systems and prevent

   Denarii from carrying out operations; unlawfully shutting down Denarii’s access to its own

   Microsoft Office 365 account(s) and email services; unlawfully deleting multiple email accounts

   from the Denarii system and erasing data from Denarii cellular telephones; and unlawfully

   exporting over 8,500 files on or about October 15, 2012, which contained Denarii’s proprietary

   source code and/or software, and misappropriating these files for Defendants’ own use and/or

   sale.

           99.    As a direct and proximate result of these Defendants’ unlawful access to Denarii’s

   computer systems, misconfigurations of Denarii’s network(s), deletion of company email

   accounts and files, interference with Denarii’s Company email communications, and

   misappropriation of Denarii’s trade secrets, Denarii has suffered actual damages in the form of

   those costs required to respond to Defendants’ breach of the Denarii network, email systems,

   individual computers, and proprietary source code.




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          100.    Denarii faces further damage should these misappropriated documents, files, and

   trade secrets be used by, sold or distributed to another business enterprise.

          WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendants Frank Alvarez, Omar Arab and Greynier Fuentes for compensatory

   damages, prejudgment interest, costs and all such other relief as this Court may deem

   appropriate.


                                       COUNT VI – FRAUD
                        against Defendants Arab, Fuentes and Blit Technologies

          101.    Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

          102.    Defendants Arab, Fuentes, and Blit Technologies falsely represented to Denarii

   that various services, hardware, and software was being provided by Blit Technologies through

   invoices dated March 19, 2012; June 17, 2012; July 5, 2012; July 5, 2012, July 27, 2012, and

   August 14, 2012. A true and correct copy of these invoices is attached to the Complaint as

   Composite Exhibit A.

          103.    On or about March 19, 2012, Defendants Arab, Fuentes and Blit Technologies

   falsely represented to Denarii through an invoice addressed to Defendant Fuentes and Denarii

   Systems LLC (attached to the Complaint within Composite Exhibit A) that Blit Technologies

   had sold to Denarii, at the cost of $62,573.00, a Microsoft “Licensing Package.” This Licensing

   Package was said to include: Microsoft Office Professional Plus 2010, Microsoft Project

   Professional 2010, Microsoft Visio Professional 2010, Microsoft Business Contact Manager

   2010, Microsoft MapPoint North America 2011 or Microsoft MapPoint Europe 2010, Microsoft

   Lync Server 2010 Standard, Microsoft Exchange Server 2010 Standard, Microsoft Forefront

   Threat Management Gateway 2010 Standard, Microsoft SharePoint Server 2010 Enterprise,


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   Windows 7 Ultimate, Windows Server 2008 R2 Enterprise, Microsoft Team Foundation Server,

   Microsoft Dynamics CRM Workgroup Server 2011, and Microsoft Visual Studio 2010 Ultimate.

          104.    In fact, this Microsoft “Licensing Package” was never provided to Denarii. Nor

   could Blit lawfully deliver such a package, as Blit Technologies is not an authorized reseller or

   agent of Microsoft.

          105.    The statements contained within the March 19, 2012 invoice were known by

   Arab, Fuentes and Blit Technologies to be false at the time the invoices were submitted, as the

   software and/or hardware referenced in the invoice was never provided by Blit Technologies to

   Denarii. Arab and Fuentes, as employees of Denarii, knew that these licenses had never been

   provided to Denarii, and were also aware of the fact that Blit Technologies was not authorized to

   sell Denarii licenses on behalf of Microsoft.

          106.    The statements contained within the March 19, 2012 invoice were made for the

   purpose of inducing Denarii to act in reliance thereon, and tender payment for services,

   hardware, and software that was never provided.

          107.    Denarii acted in reasonable reliance on the correctness of the statements contained

   within the March 19, 2012 invoice, as evidenced by Denarii’s payment of $62,573.00 to Blit

   Technologies, made on or about March 19, 2012.

          108.    Damage resulted to Denarii through the payment of $62,573.00 for the falsified

   March 19, 2012 invoice that was submitted to Denarii by Defendants for work never performed

   and goods never delivered.

          109.    On or about June 17, 2012, Defendants Arab, Fuentes and Blit Technologies

   falsely represented to Denarii through an invoice addressed to Defendant Fuentes and Denarii

   Systems LLC (attached to the Complaint within Composite Exhibit A) that Blit Technologies




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   had provided Denarii, at the cost of $5,440.00, with 80 hours of “C# .Net Developer work from

   5/21/2012 to 6/17/2012.”

          110.   The statements contained within the June 17, 2012 invoice were known by Arab,

   Fuentes and Blit Technologies to be false at the time the invoice was submitted, as the services

   referenced in the invoice were never provided by Blit Technologies to Denarii. Arab and

   Fuentes, as employees of Denarii, knew that this work had never been performed.               Blit

   Technologies also knew that this work had not been performed by itself or its employees.

          111.   The statements contained within the June 17, 2012 invoice were made for the

   purpose of inducing Denarii to act in reliance thereon, and tender payment for services that were

   never provided.

          112.   Denarii acted in reasonable reliance on the correctness of the statements contained

   within the March 19, 2012 invoice, as evidenced by Denarii’s payment of $5,440.00 to Blit

   Technologies, made on or about June 29, 2012.

          113.   In addition, this identical false invoice was submitted to Denarii a second time for

   payment, such that Denarii made an additional payment of $5,440.00 to Blit Technologies on or

   about August 23, 2012.

          114.   Damage resulted to Denarii through the payment of $10,880.00 for the falsified

   June 17, 2012 invoice that was submitted twice to Denarii by Defendants for work never

   performed and services never rendered.

          115.   On or about July 5, 2012, Defendants Arab, Fuentes and Blit Technologies falsely

   represented to Denarii through an invoice addressed to Defendant Arab and Denarii Systems

   LLC (attached to the Complaint within Composite Exhibit A) that Blit Technologies had




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   provided Denarii, at the cost of $2,720.00, with 40 hours of “C# .Net Developer work from

   6/18/2012 to 7/1/2012.”

          116.   The statements contained within the July 5, 2012 invoice were known by Arab,

   Fuentes and Blit Technologies to be false at the time the invoice was submitted, as the services

   referenced in the invoice were never provided by Blit Technologies to Denarii. Arab and

   Fuentes, as employees of Denarii, knew that this work had never been performed.              Blit

   Technologies also knew that this work had not been performed by itself or its employees.

          117.   The statements contained within the July 5, 2012 invoice were made for the

   purpose of inducing Denarii to act in reliance thereon, and tender payment for services that were

   never provided.

          118.   Denarii acted in reasonable reliance on the correctness of the statements contained

   within the July 5, 2012 invoice, as evidenced by Denarii’s payment of $2,720.00 to Blit

   Technologies, made on or about July 30, 2012.

          119.   Damage resulted to Denarii through the payment of $2,720.00 for the falsified

   July 5, 2012 invoice that was submitted to Denarii by Defendants for work never performed and

   services never rendered.

          120.   On or about July 5, 2012, Defendants Arab, Fuentes and Blit Technologies falsely

   represented to Denarii through an invoice addressed to Defendant Arab and Denarii Systems

   (attached to the Complaint within Composite Exhibit A) that Blit Technologies had sold Denarii,

   at the cost of $16,000,00, “Exchange Server 2010 setup and configuration” and “SharePoint

   2010 setup and configuration.”

          121.   The statements contained within the July 5, 2012 invoice were known by Arab,

   Fuentes and Blit Technologies to be false at the time the invoice was submitted, as the services




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   referenced in the invoice were never provided by Blit Technologies to Denarii. Arab and

   Fuentes, as employees of Denarii, knew that this work had never performed. Blit Technologies

   also knew that this work had not been performed by itself or its employees.

          122.   The statements contained within the July 5, 2012 invoice were made for the

   purpose of inducing Denarii to act in reliance thereon, and tender payment for services that were

   never provided.

          123.   Denarii acted in reasonable reliance on the correctness of the statements contained

   within the July 5, 2012 invoice, as evidenced by its payment of $8,000.00 to Blit Technologies,

   made on July 12, 2012, and its subsequent payment of an additional $8,000.00 to Blit

   Technologies, made on or about August 31, 2012.

          124.   Damage resulted to Denarii through the payment of $16,000.00 for the falsified

   July 5, 2012 invoice that was submitted to Denarii by Defendants for work never performed and

   goods never delivered.

          125.   On or about July 27, 2012, Defendants Arab, Fuentes and Blit Technologies

   falsely represented to Denarii through an invoice addressed to Defendant Arab and Denarii

   Systems (attached to the Complaint within Composite Exhibit A) that Blit Technologies had

   provided Denarii, at the cost of $1,360.00, with 20 hours of “C# .Net Developer work from

   7/16/2012 TO 7/22/2012.”

          126.   The statements contained within the July 27, 2012 invoice were known by Arab,

   Fuentes and Blit Technologies to be false at the time the invoice was submitted, as the services

   referenced in the invoice were never provided by Blit Technologies to Denarii. Arab and

   Fuentes, as employees of Denarii, knew that this work had never been performed.              Blit

   Technologies also knew that this work had not been performed by itself or its employees.




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          127.   The statements contained within the July 27, 2012 invoice were made for the

   purpose of inducing Denarii to act in reliance thereon, and tender payment for services that were

   never provided.

          128.   Denarii acted in reasonable reliance on the correctness of the statements contained

   within the July 27, 2012 invoice, as evidenced by its payment of $1,360.00 to Blit Technologies,

   made on or about August 21, 2012.

          129.   Damage resulted to Denarii through the payment of $1,360.00 for the falsified

   July 27, 2012 invoice that was submitted to Denarii by Defendants for work never performed and

   services never rendered.

          130.   On or about August 14, 2012, Defendants Arab, Fuentes and Blit Technologies

   falsely represented to Denarii through an invoice addressed to Defendant Arab and Denarii

   Systems (attached to the Complaint within Composite Exhibit A) that Blit Technologies had

   provided Denarii, at the cost of $1,870.00, with 34 hours of “Development work of the Denarii

   Website.”

          131.   The statements contained within the August 14, 2012 invoice were known by

   Arab, Fuentes and Blit Technologies to be false at the time the invoice was submitted, as the

   services referenced in the invoice were never provided by Blit Technologies to Denarii. Arab

   and Fuentes, as employees of Denarii, knew that this work had never been performed. Blit

   Technologies also knew that this work had not been performed by itself or its employees.

          132.   The statements contained within the August 14, 2012 invoice were made for the

   purpose of inducing Denarii to act in reliance thereon, and tender payment for services that were

   never provided.




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          133.    Denarii acted in reasonable reliance on the correctness of the statements contained

   within the August 14, 2012 invoice, as evidenced by its payment of $1,870.00 to Blit

   Technologies, made on or about August 21, 2012.

          134.    Damage resulted to Denarii through the payment of $1,870.00 for the falsified

   August 14, 2012 invoice that was submitted to Denarii by Defendants for work never performed

   and services never rendered.

          135.    In total, damage resulted to Denarii through the payment of $95,403.00 of false

   invoices that were submitted by Defendants for work never performed, services never rendered,

   and goods never delivered.

          WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendants Omar Arab, Greynier Fuentes and Blit Technologies for

   compensatory damages, prejudgment interest, costs and all such other relief as this Court may

   deem appropriate.

                              COUNT VII – UNJUST ENRICHMENT
                                against Defendant Blit Technologies

          136.    Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

          137.    Denarii conferred a benefit on Defendant Blit Technologies in the form of

   $95,403.00 in payments for false invoices dated March 19, 2012; June 17, 2012; July 5, 2012;

   July 5, 2012, July 27, 2012, and August 14, 2012. A true and correct copy of these invoices is

   attached to the Complaint as Composite Exhibit A.

          138.    Blit Technologies voluntarily accepted and retained the benefit conferred, despite

   the fact that Blit Technologies performed no work, rendered no services, and delivered no

   hardware or software, as detailed in its invoices.



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          139.       Because Blit Technologies performed none of the work and provided none of the

   hardware or software that was billed to Denarii, the circumstances are such that it would be

   inequitable for Defendant Blit Technologies to retain the benefit without paying the value thereof

   to the Denarii.

          WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendant Blit Technologies Corp. for compensatory damages, prejudgment

   interest, costs and all such other relief as this Court may deem appropriate.


                                          COUNT VIII – FRAUD
                                          against Defendant Arab

          140.       Denarii readopts and incorporates by reference the allegations contained in

   paragraphs 1 through 47 of this Complaint as if fully stated herein.

          141.       Defendant Arab falsely represented to Denarii that Alberto Padin and/or Optimus

   Consulting Services was performing work for Denarii. As part of this representation, Arab

   approved invoices from Optimus and Padin dated February 27, 2012; March 30, 2012; April 30,

   2012; May 28, 2012; June 26, 2012; July 28, 2012; August 28, 2012; and September 28, 2012,

   for work that was never performed. These invoices totaled $84,000.00 for purported services as

   a “Project Manager” and “Sr. Data Base.” A true and correct copy of these invoices is attached to

   the Complaint as Composite Exhibit B (with financial account information redacted).

          142.       In truth, the foregoing services were never provided.

          143.       Defendant Arab knew these statements to be false at the time they were made, as

   he was aware that no work was being performed by his friend and former business partner,

   Alberto Padin (and/or Optimus Consulting Services) on behalf of Denarii.




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          144.    Arab made these statements and submitted these false invoices for the purpose of

   inducing Denarii to act in reliance thereon, and tender payment for services that were never

   performed.

          145.    Denarii acted in reasonable reliance on the correctness of the statements contained

   within the invoices as approved by Defendant Arab, as evidenced by its payment of the invoices

   on or about March 2, 2012 (in the amount of $10,500, for payment of the February 27, 2012

   invoice); April 4, 2012 (in the amount of $10,500, for payment of the March 30, 2012 invoice);

   May 7, 2012 (in the amount of $10,500, for payment of the April 30, 2012 invoice); May 31,

   2012 (in the amount of $10,500, for payment of the May 28, 2012 invoice); July 2, 2012 (in the

   amount of $10,500, for payment of the June 26, 2012 invoice); August 9, 2012 (in the amount of

   $10,500, for payment of the July 28, 2012 invoice); August 31, 2012 (in the amount of $10,500

   for payment of the August 28, 2012 invoice); and October 3, 2012 (in the amount of $10,500.00,

   for payment of the September 28, 2012 invoice).

          146.    Damage resulted to Denarii through the payment of $84,000.00 of false invoices

   that were approved by Defendant Arab for services that were never performed.

          WHEREFORE, Plaintiff Denarii respectfully requests that judgment be entered in its

   favor and against Defendant Omar Arab for compensatory damages, prejudgment interest, costs

   and all such other relief as this Court may deem appropriate

                                      JURY TRIAL DEMAND

          Denarii demands trial by jury on all issues so triable.




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                                                 Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 10, 2013, I caused the foregoing document to be

   electronically filed with the Clerk of Court using CM/ECF. I also certify that the foregoing

   document is being served this day via the Court’s CM/ECF system on:


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                                                       By: /s/ Adam S. Hall___________
                                                       ADAM S. HALL




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